          Case 1:20-cv-03389-CKK Document 17 Filed 03/31/21 Page 1 of 7




                          IN THE UNITED STATES DISTRICT COURT FOR
                               THE DISTRICT OF COLUMBIA



 BRIJE SMITH                                          )
                                                      )
                                                      )
         Plaintiff,                                   )
                                                      ) Case No.: 1:20-cv-03389-CKK
 v.                                                   )
                                                      )
 EUGENE WRIGHT,                                       )
                                                      )
 DISTRICT OF COLUMBIA                                 )
 PUBLIC SCHOOLS,                                      )
                                                      )
 DISTRICT OF COLUMBIA                                 )
 GOVERNMENT,                                          )
                                                      )
         Defendants.                                  )


PLAINTIFF’S OPPOSITION TO DEFENDANT’S MOTION TO DISMISS THE AMENDED
                           COMPLAINT

        Plaintiff Brije Smith (“Plaintiff”), by and through undersigned counsel, respectfully moves

this Honorable Court to reject Defendants District of Columbia’s, District of Columbia Public

Schools’, and Defendant Eugene Wright’s (“Defendant DC” and “Defendant DCPS” and “Defendant

Wright” or “Defendants”) Motion to Dismiss the Amended Complaint under Fed. R. Civ. P. 12(b)(1)

and 12(b)(6). In support of this opposition, Plaintiff submits the attached memorandum of points and

authorities.

Respectfully submitted this March 31, 2021,


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          Case 1:20-cv-03389-CKK Document 17 Filed 03/31/21 Page 2 of 7




                            IN THE UNITED STATES DISTRICT COURT FOR
                                THE DISTRICT OF COLUMBIA



 BRIJE SMITH                                             )
                                                         )
                                                         )
         Plaintiff,                                      )
                                                         ) Case No.: 1:20-cv-03389-CKK
 v.                                                      )
                                                         )
 EUGENE WRIGHT,                                          )
                                                         )
 DISTRICT OF COLUMBIA                                    )
 PUBLIC SCHOOLS,                                         )
                                                         )
 DISTRICT OF COLUMBIA                                    )
 GOVERNMENT,                                             )
                                                         )
         Defendants.                                     )


  MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF PLAINTIFF’S
OPPOSITION TO DEFENDANT’S MOTION TO DISMISS THE AMENDED COMPLAINT

                                           INTRODUCTION

       Plaintiff Brije Smith (“Plaintiff”) submits this memorandum of points and authorities in

support of her opposition to Defendant’s motion to dismiss the amended complaint pursuant to Fed.

R. Civ. P. 12(b)(1) and 12(b)(6). Plaintiff has not failed to state the basis for federal jurisdiction and,

as such, this Court should not dismiss the Amended Complaint due to a lack of jurisdiction. Further,

Defendants argue that Plaintiff’s claims fail as a matter of law, however, this is incorrect, and each

claim will be addressed in turn below. As such, in support thereof, Plaintiff states the following:
           Case 1:20-cv-03389-CKK Document 17 Filed 03/31/21 Page 3 of 7




                                       STANDARD OF REVIEW

   I.       Fed. R. Civ. P. 12(b)(1)

         To survive a motion to dismiss pursuant to Fed. R. Civ. P. 12(b)(1), “[a] plaintiff bears the

burden of establishing by a preponderance of the evidence that the court has subject matter

jurisdiction.” See Epps v. US Capitol Police Bd., 719 F. Supp. 2d 7, 11 (D.D.C. 2010) (citing Lujan v.

Defenders of Wildlife, 504 US 555, 561 (1992)). To show that a court has subject matter jurisdiction,

plaintiff must show that the court, “…possess[es] ‘only that power authorized by Constitution and

statute.’” See Custis v. CIA, 118 F. Supp. 3d 252, 254 (D.D.C. 2015) (quoting Kokkonen v. Guardian

Life Ins. Co. of Am., 511 US 375, 377 (1994)).

   II.      Fed. R. Civ. P. 12(b)(6)

         To survive a motion to dismiss under Fed. R. Civ. P. 12(b)(6), a plaintiff’s “[f]actual

allegations must be enough to raise a right to relief above the speculative level, on the assumption

that all the allegations in the complaint are true (even if doubtful in fact).” Bell Atl. Corp. v. Twombly,

550 US 554, 555 (2007). As Defendants accurately state, “[t]he Supreme Court has set forth a ‘two-

pronged approach’ that a trial court should use when ruling on a motion to dismiss under Rule

12(b)(6).” See Def. MTD Amend. Compl., pg. 3, ECF No. 16 (citing Ashcroft v. Iqbal, 556 US 662,

678 (2009)). That two-prong approach mandates that a complaint be well-pleaded and contain more

than, “unadorned, the-defendant-unlawfully-harmed-me accusation[s],” and that well-pleaded factual

allegations should be assumed to be true so that it can be determined whether they plausibly give rise

to an entitlement to relief. Id. (citing Atherton v. District of Columbia, 567 F.3d 672, 681 (D.C. Cir.

2009)). Finally, as Defendants accurately reiterate, “[a] court may consider an EEOC complaint and

Notice of Charge without converting a motion to dismiss unto a motion for summary judgment

because such records are public documents of which a court may take judicial notice.” Ashraf-
            Case 1:20-cv-03389-CKK Document 17 Filed 03/31/21 Page 4 of 7




Hassam v. Embassy of France in US¸878 F. Supp. 2d 164, 169 (D.D.C. 2012).

                                           LEGAL ARGUMENT

    I.       THE COURT DOES NOT LACK SUBJECT MATTER JURISDICTION OVER

             THE COMPLAINT

          Defendants argue that Plaintiff in this case fails to allege any valid basis for federal

jurisdiction. See Def. MTD Amend. Compl., pg. 4, ECF No. 16. This assertion is incorrect as a matter

of law. In the Amended Complaint, Plaintiff stated that this Court had jurisdiction pursuant to 28

USC §§ 1331 and 1343 as well as 42 USC § 1983. See Amend. Compl., ¶ 5, ECF No. 15. Defendant

asserts that none of these statutes grant this Court jurisdiction over the present action, however, this is

not accurate. 28 USC § 1331 grants the District Courts of the United States with original jurisdiction,

“…of all civil actions arising under the Constitution, laws, or treaties of the United States.” Counts I

and II of Plaintiff’s Amended Complaint are brought pursuant to Title VII and Defendants’ choice to

feign ignorance of that fact is mere posturing to convince this Court that there is no federal

jurisdiction over this case. It is clear that Plaintiff’s right to relief in this case necessarily depends on

the resolution of a substantial question of federal law; that being violations of Title VII. See Empire

HealthChoice Assur., Inc. v. McVeigh, 547 US 677, 689-690 (2006). Counts III and IV are brought to

this Court pursuant to 28 USC § 1367 and as such, this Court has jurisdiction over those claims as

well as they form part of the same controversy as Counts I and II. As such, the Amended Complaint

should not be dismissed pursuant to Fed. R. Civ. P. 12(b)(1) for want of subject matter jurisdiction.



    II.      PLAINTIFF’S NEGLIGENCE CLAIM IS NOT BARRED BY RES JUDICATA

          “Under the doctrine of res judicata, or claim preclusion, a subsequent lawsuit will be barred if

there has been prior litigation (1) involving the same claims or cause of action, (2) between the same
          Case 1:20-cv-03389-CKK Document 17 Filed 03/31/21 Page 5 of 7




parties of their privies, and (3) there has been a final valid judgement on the merits, (4) by a court of

competent jurisdiction.” See Porter v. Shah, 606 F.3d 809, 813 (2010) (quoting Capitol Hill Group v.

Pillsbury, Winthrop, Shaw, Pittman, LLC, 569 F.3d 485, 490 (2009)). Defendants in this case invoke

the doctrine of res judicata stating that Plaintiff’s Count III of negligence is so barred. This assertion

is incorrect as Defendants cannot adequately apply the first prong of the doctrine of res judicata to

the present case.

        “Suits involve the same claim (or ‘cause of action’) when they aris[e] from the same

transaction…or involve a ‘common nucleus of operative facts.” See Lucky Brand Dungarees, Inc. v.

Marcel Fashions Group, Inc., 140 S.Ct. 1589, 1594-1595 (2020) (internal citations omitted). As it

relates to the present case, Defendants attempt to construe Count III (Negligence) of the Amended

Complaint as the same as Count IV (Negligence Training and Supervision) of the Original Complaint

filed in this Court and in the DC Superior Court. See Def. MTD Amend. Compl., pgs. 6-7, ECF No.

16. This comparison is ill made, and, in fact, these two Counts are not the same claim. Where two

claims are grounded on different conduct, involving different facts, and occur at different times, they

do not share a “common nucleus of operative facts”. See Lucky Brand Dungarees, Inc. v. Marcel

Fashions Group, Inc., 140 S.Ct. 1589, 1595 (2020). Between these two Counts it is clear that they

are, in fact, different claims.

        Count IV in the Original Complaint was solely limited to Defendant DC’s liability related to

the supervision and training of Defendant Wright and their failure to correct or prevent his campaign

of harassment against Plaintiff. See Original Compl., ¶¶ 55-59, ECF No. 1. Count III of the Amended

Complaint, contrarily, deals with Defendant DC’s negligent behavior not only for their failure to

supervise and train Defendant Wright but also in placing Plaintiff back under Defendant Wright’s

supervision even after Defendant DC was made aware of his harassing and inappropriate behavior.
         Case 1:20-cv-03389-CKK Document 17 Filed 03/31/21 Page 6 of 7




See Amend. Compl., ¶¶ 53-62, ECF No. 15. To be certain, some of the same facts stated in Count IV

of the Original Complaint are included in Count III of the Amended Complaint, however, Count III

does, in fact, contain other and different facts that bely the claim. Further, Count III of the Amended

Complaint alleges that Defendant Wright was also negligent for violation of the special duty imposed

upon him pursuant to the employer-employee relationship; an allegation not contained in Count IV of

the Original Complaint. Id. A review, even a reckless review, of the two Counts at issue in

Defendants argument regarding res judicata clearly shows that Count IV of the Original Complaint,

both in this Court and in DC Superior Court, and Count III of the Amended Complaint are not the

same claim and therefore the first prong of the doctrine of res judicata is inapplicable to the present

case and this Court should not dismiss Plaintiff’s Count III in the Amended Complaint.

                                            CONCLUSION

       For these reasons, the Court should grant Plaintiff’s motion and deny the Defendant’s Motion

to Dismiss pursuant to the aforementioned reasons.

Respectfully submitted,

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         Case 1:20-cv-03389-CKK Document 17 Filed 03/31/21 Page 7 of 7




                                  CERTIFICATE OF SERVICE

I HEREBY certify that a copy of the above Opposition to Defendant’s Motion to Dismiss was

delivered via email and ECF to:


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Dated: 3/31/21
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